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                                             / MATTHEW LAROCHE
                        United States Attorneys

Before:     THE HONORABLE BARBARA C. MOSES
            United States Magistrate Judge
            Southern District of New York                   NOV 0 i l017

                                          x
UNITED STATES OF AMERICA                        COMPLAINT             Do'l.1n#- - -
                 - v. -                         Violations of
                                                18 U.S.C. §§ 2339B, 33,
SAYFULLO HABIBULLAEVIC SAIPOV,                  34 f   2

                                                COUNTY OF OFFENSE:
                        Defendant.              NEW YORK

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STATE OF NEW YORK
COUNTY OF NEW YORK             ss.:
SOUTHERN DISTRICT OF NEW YORK)

          Amber Tyree, being duly sworn, deposes and says that
she is a Special Agent with the Federal Bureau of Investigation
("FBI"), and a member of the FBI's Joint Terrorism Task Force
("JTTF"), and charges as follows:

                                 COUNT ONE

   (Provision of Material Support and Resources to a Designated
                 Foreign Terrorist Organization)

          1.   From at least in or about October 2017, up to and
including the date of this Complaint, in the Southern District
of New York and elsewhere, SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant did knowingly and intentionally provide, and attempt
to provide, "material support or resources," as that term is
defined in Title 18, United States Code, Section 2339A(b),
namely, services, and personnel (including himself), to a
foreign terrorist organization, namely, the Islamic State of
Iraq and al-Sham ("ISIS"), which at all relevant times was
designated by the Secretary of State as a foreign terrorist
organization pursuant to Section 219 of the Immigration and
Nationality Act, knowing that ISIS was a designated foreign
terrorist organization (as defined in Title 18, United States
Code, Section 2339B(g) (6)), that ISIS engages and has engaged in
terrorist activity (as defined in section 212(a) (3) (B) of the
INA) , and that ISIS engages and has engaged in terrorism (as
defined in section 140(d) (2) of the Foreign Relations
Authorization Act, Fiscal Years 1988 and 1989), thereby causing
the death of at least one person, all in violation of Title 18,
United States Code, Section 2339B(a) (1), and (i) the offense
occurred in whole or in part within the United States, and (ii)
the offense occurred in and affected interstate and foreign
commerce, to wit, SAIPOV drove a truck on a bike lane and
pedestrian walkway in New York, New York intentionally killing
at least eight individuals and injuring at least twelve
individuals.

          (Title 18, United States Code, Section 2339B.)

                            COUNT TWO

           (Violence and Destruction of Motor Vehicles)

          2.   On or about October 31, 2017, in the Southern
District of New York and elsewhere, SAYFULLO HABIBULLAEVIC
SAIPOV, the defendant, and others known and unknown, did
willfully, with intent to endanger the safety of any person on
board and of someone whom he believed would be on board, and
with a reckless disregard for the safety of human life, damage,
disable, and destroy a motor vehicle that was used, operated,
and employed in interstate and foreign commerce, thereby causing
the death of at least one person, to wit, SAIPOV damaged a truck
that was used, operated, and employed in interstate and foreign
commerce, and that was used for commercial purposes on the
highways in the transportation of passengers, passengers and
property, or property or cargo, when SAIPOV drove the truck onto
a walkway in New York, New York, with reckless disregard for
human life, causing the deaths of at least eight individuals.

   (Title 18, United States Code, Sections 33(a), 34, and 2.)

          The bases for my knowledge and the foregoing charges
are, in part, as follows:

          3.   I am a Special Agent with the FBI and a member of
the FBI's New York-based JTTF, and I have been personally
involved in the investigation of this matter. This affidavit is
based in part upon my conversations with law enforcement agents
and other people, and my examination of reports and records.
Because this affidavit is being submitted for the limited
purpose of establishing probable cause, it does not include all


                                2
of the facts that I have learned during the course of my
investigation. Where the contents of documents and the actions,
statements, and conversations of others are reported herein,
they are reported in substance and in part, except where
otherwise indicated.

                       Background on ISIS

          4.   Based on my training, experience, and review of
publicly available materials, I understand the following:

                a.   On October 15, 2004, the U.S. Secretary of
State designated al Qaeda in Iraq ("AQI"), then known as Jam' at
al Tawhid wa'al-Jihad, as a Foreign Terrorist Organization
 ("FTO") under Section 219 of the INA and as a Specially
Designated Global Terrorist under section l(b) of Executive
Order 13224. On May 15, 2014, the Secretary of State amended
the designation of AQI as an FTO under Section 219 of the INA
and as a Specially Designated Global Terrorist entity under
section l(b) of Executive Order 13224 to add the alias Islamic
State of Iraq and the Levant ("ISIL") as its primary name.   The
Secretary also added the following aliases to the FTO listing:
the Islamic State of Iraq and al-Sham ("ISIS" - which is how the
FTO will be referenced herein) , the Islamic State of Iraq and
Syria, ad-Dawla al-Islamiyya fi al-'Iraq wa-sh-Sham, Daesh,
Dawla al Islamiya, and Al-Furqan Establishment for Media
Production.   In an audio recording publicly released on June 29,
2014, ISIS announced a formal change of its name to the Islamic
State. On September 21, 2015, the Secretary added the following
aliases to the FTO listing: Islamic State, ISIL, and ISIS.   To
date, ISIS remains a designated FTO.

               b.   The U.S. State Department has reported that,
among other things, ISIS has committed systematic abuses of
human rights and violations of international law, including
indiscriminate killing and deliberate targeting of civilians,
mass executions and extrajudicial killings, persecution of
individuals and communities on the basis of their religion,
nationality, or ethnicity, kidnapping of civilians, forced
displacement of Shia communities and minority groups, killing
and maiming of children, rape, and other forms of sexual
violence. According to the State Department, ISIS has recruited
thousands of foreign fighters from across the globe to assist
with its efforts to expand its so-called caliphate in Iraq,
Syria, and other locations in Africa and the Middle East, and
has leveraged technology to spread its violent extremist
ideology and for incitement to commit terrorist acts.


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               c.   On or about September 21, 2014, now-deceased
ISIS spokesperson Abu Muhammad al-Adnani called for attacks
against citizens-civilian or military-of the countries
participating in the United States-led coalition against ISIS.

           5.  Based on my training and experience, my personal
participation in this and other investigations involving ISIS,
and my conversations with other law enforcement agents who have
been involved in ISIS-related investigations, I have learned the
following:

                a.  To gain supporters, ISIS, like many other
terrorist organizations, spreads its message using social media,
Internet platforms, and email. Using these platforms, ISIS posts
and circulates videos and updates of events in Syria, Iraq, and
other ISIS-occupied areas, in English and Arabic, as well as
other languages, to draw support to its cause.

               b.   ISIS has encouraged followers who are unable
to travel to the Middle East to instead conduct attacks in other
countries. For example, on or about March 31, 2015, the user of
Twitter account @AbuHu55ain_, believed to be used at the time by
an ISIS member located in Syria, tweeted: "Lone Wolfs Rise Up";
"If you can't make the hijrah, dont sit at home & give
up .   . ignite a bomb, stab a kaffir, or shoot a politican!";
"if you came here, you'd be on the frontline fighting, right?
But u couldn't come here, so why not fight the kuffar over
there?"; and "i always see in the media brothers getting caught
making hijrah, brothers know that your jihad is not over just
because you got stopped." 1

               c.   ISIS has disseminated a wide variety of
recruiting materials and propaganda through social media. These
include photographs and videos depicting ISIS's activities,
including beheadings and other atrocities, as well as audio and
video lectures by members of ISIS and members of other Islamic
extremist organizations.



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  Based on my training, experience, and participation in this
investigation, I understand that "kaff ir" and "kuffar" are
Arabic terms generally meaning "disbelievers" (i.e., non-
Muslims), and that "hijrah" (or "hijra") is an Arabic term
normally used to refer to migration, but which is also used by
ISIS supporters to ref er to traveling to the Middle East to
engage in jihad.


                                4
                   The October 31, 2017 Attack

          6.   Based on my conversations with members of the New
York City Police Department and other law enforcement officers,
my review of documents, and my involvement in this
investigation, I have learned the following:

                a.   On or about October 31, 2017, at approximately
3:00 p.m., a flatbed truck bearing a New Jersey license plate (the
"Truck") traveled from New Jersey over the George Washington Bridge
and entered New York City. After entering New York City, the Truck
proceeded to the West Side Highway and began traveling southbound.

                b.  Once the Truck was in the vicinity of Houston
Street in Manhattan, the Truck proceeded onto the bike lane and
pedestrian walkway (the "Walkway") of the West Side Highway. The
Truck then drove down the Walkway for several blocks and struck
numerous civilians on the Walkway (the "Victims") .      The Truck
eventually collided with a school bus, which was carrying occupants
in the vicinity of West Street and Chambers Street, at which point
the Truck came to a halt.

               c.    After the Truck collided with the school bus,
a man, later identified as SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant, exited the driver's door of the Truck with two objects
in his hands that appeared to be firearms (the "Weapons") . Moments
after SAIPOV got out of the Truck, he yelled, in substance and in
part, "Allahu Akbar." I know, based on my training and experience,
that "Allahu Akbar" is an Arabic phrase that translates to "God is
Great."

               d.    SAIPOV was    subsequently shot   by a    law
enforcement officer and taken into custody.     In the vicinity of
where SAIPOV was shot, SAIPOV dropped the Weapons, which, based on
a preliminary review, appear to be a paintball gun and pellet gun,
and a black bag (the "Bag") .     Inside the Bag, law enforcement
officers recovered, among other things, three knives and a wallet,
which itself contained a Florida Driver's License for SAIPOV.
After SAIPOV was taken into custody, law enforcement off ice rs
recovered two cellular phones ("Cellphone-1" and "Cellphone-2,"
collectively the "Cellphones") and a stun gun on the Truck's floor
in the vicinity of the driver's seat of the Truck. Law enforcement
officers also recovered, approximately ten feet from the driver's
door of the Truck, a document that contained Arabic and English
text (the "Document").




                                 5
            7.   I know, based on my review of the rental contract
for the Truck that the Truck was rented from a store located in
Passaic, New Jersey, which is engaged in commercial activity,
including renting vehicles for the purpose of transporting cargo
and/or persons on highways, among other places (the "Store"). The
Truck was rented on or about October 31, 2017, at approximately
2:06 p.m. to a customer who identified himself as "sayfullo
saipov." The rental duration for the Truck-that is, the length of
time that the customer was permitted to use the Truck-was "75
Mins."   I also know, based on my review of surveillance footage
provided by the Store, that SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant, entered and exited the store on the afternoon of October
31, 2017. 2    A still photograph of SAIPOV at the Store appears
below:




          8.   I know, based on my review of a preliminary
translation of the Document, see supra     ~ 5(d), that the Arabic
portion of the Document states, in substance and in part, "No God
but God and Muhammad is his Prophet" and "Islamic Supplication.
It will endure."    Based on my training and experience, and my
conversations with others, I know that "It will endure" is commonly
used to refer to ISIS.



2 I am familiar with the appearance of SAYFULLO HABIBULLAEVIC
SAIPOV, the defendant, based on, among other things, my review
of photographs of SAIPOV obtained by law enforcement.

                                 6
          9.    Based on my training and experience, I know that
propaganda by ISIS and other terrorist organizations has long
counseled followers to commit acts of violence like the one
committed by SAYFULLO HABIBULLAEVIC SAIPOV, the defendant; i.e.,
by using vehicles as weapons. For example, the July 2016 issue of
Dabiq, ISIS' s then-official magazine, praised the "brother" who
answered   "the   Islamic   State's   calls   to   target   nations
participating in the Crusader coalition fighting the Caliphate" by
"killing more than 80 people and injuring more than 300 others" in
the Nice attacks. In September 2016, ISIS changed the name of its
official magazine from Dabiq to Rumiyah.    In November 2016, ISIS
released Rumiyah, Issue 3, which has an article titled "Just Terror
Tactics," which again focuses on a vehicle attack as a primary
attack weapon with a secondary attack using a knife or gun to
maximize the "kill count" and terror. Based on my review of that
article, the article stated, among other things, the following:

     •    "Though being an essential part of modern life, very
          few actually comprehend the deadly and destructive
          capability of the motor vehicle and its capacity of
          reaping large numbers of casualties if used in a
          premeditated manner."
     •    "In a bid to ensure utmost carnage upon the enemies of
          Allah, it is imperative that one does not exit his
          vehicle during the attack. Rather, he should remain
          inside, driving over the already harvested kuffar, and
          continue crushing their remains until it becomes
          physically impossible to continue by vehicle. At this
          stage, one may exit the vehicle and finish his
          operation on foot, if he was able to obtain a
          secondary weapon."
     •    "Having a secondary weapon, such as a gun or a knife,
          is also a great way to combine a vehicle attack with
          other forms of attacks. Depending on what is
          obtained, the kill count can be maximized and the
          level of terror resulting from the attack can be
          raised. This could also increase the possibility of
          attaining shahadah, which is the best of departures
          from this Dunya into the larger expanse of the
          Akhirah."

          10. After SAYFULLO HABIBULLAEVIC SAIPOV, the defendant,
was taken into custody, he was transferred to Bellevue Hospital.
While at Bellevue Hospital, law enforcement officers interviewed
SAIPOV, who was read and verbally waived his Miranda rights.
During that interview, SAIPOV stated, in substance and in part,
and among other things, the following:


                                 7
               a.   SAIPOV was inspired to carry out the Truck
attack by ISIS videos he had watched on his cellular phone.
Approximately one year ago, SAIPOV began planning an attack in the
United States, and, approximately two months ago, SAIPOV decided
to use a truck in order to inflict maximum damage against
civilians.   In particular, SAIPOV was motivated to commit the
attack after viewing a video in which Abu Bakr al-Baghdadi-who
based on my training and experience I understand to be the leader
of ISIS-questioned what Muslims in the United States and elsewhere
were doing to respond to the killing of Muslims in Iraq.

               b.   On or about October 22, 2017, SAIPOV rented a
truck from the Store so he could practice making turns with the
truck in advance of his attack.        SAIPOV chose October 31,
Halloween, for the attack because he believed there would be more
civilians on the street for the holiday.

                c.   On October 31, 2017, SAIPOV rented the Truck
from the Store for a period of two hours but had no intention of
ever returning it.    Rather, SAIPOV planned to use the Truck to
strike pedestrians in the vicinity of the West Side Highway and
then proceed to the Brooklyn Bridge to continue to strike
pedestrians.   SAIPOV wanted to kill as many people as he could.
SAIPOV wanted to display ISIS flags in the front and back of the
Truck during the attack, but decided against it because he did not
want to draw attention to himself.

               d.   After SAIPOV rented the Truck, SAIPOV traveled
to New York City over the George Washington Bridge. Upon entering
New York City, SAIPOV proceeded onto the West Side Highway. While
SAIPOV was driving the Truck down the West Side Highway he
proceeded onto the Walkway at his first opportunity.

               e.   At some point, the Truck became inoperable and
SAIPOV exited the Truck.    When he exited the Truck, SAIPOV was
yelling "Allahu Akbar" and carrying a paintball gun and a pellet
gun. SAIPOV also had a bag of knives in the Truck but was unable
to reach them before exiting. SAIPOV identified the Document and
admitted to writing it, and also stated that the Cellphones
belonged to him.

               f.   During the interview with law enforcement,
SAIPOV requested to display ISIS's flag in his hospital room and
stated that he felt good about what he had done.




                                8
          11.  On or about October 31, 2017, the Honorable Barbara
c. Moses issued a search warrant to search the Cellphones.   Based
on my conversations with law enforcement officers who have
preliminarily reviewed information obtained from the Cellphones,
I know, among other things, the following:

                a.   Cellphone-1 contains approximately 90 videos,
many of which appear to be, based on my training, experience, and
conversations with other law enforcement officers, ISIS-related
propaganda. For example, the videos include: (i) a video of what
appear to be ISIS fighters killing a prisoner by running the
prisoner over with a tank; (ii) a video of what appear to be ISIS
fighters shooting a prisoner in the face; (iii) a video of a
beheading; and (iv) a video that appears to provide instructions
for how to make a homemade improvised explosive device. Cellphone-
1 also contains approximately 3,800 images, many of which appear
to be ISIS propaganda.      For example, the images include: (i)
multiple images of the symbol for ISIS's media wing; (ii) multiple
images of Abu Bakr al-Baghdadi; and (iii) an image of an ISIS
member standing next to an individual who appears to have been
shot.

               b.   Cellphone-2's     Internet    search    history
reflects, among other things, the following:       ( i) on or about
October 4, 2017, a search for the Store in Passaic; (ii) on or
about October 15, 2017, a search for Halloween in NYC; and (iii) on
or about October 18, 2017, a search for truck rentals at the Store
and Load 'N Go flatbed truck.

          12. I know, based on my conversations with others, my
training, experience, and participation in this investigation,
that on or about November 1, 2017 at 12:00 p.m., at least eight
Victims had died from the injuries they sustained as a result of
the Truck driving on the Walkway and at least twelve additional
Victims had been injured.




                                 9
          WHEREFORE deponent prays that SAYFULLO HABIBULLAEVIC
SAIPOV, the defendant, be imprisoned, or bailed, as the case may
be.




                                                 Tyree
                                                nvestigation
                            Joint Terrorism   ask Force


Sworn to before me this
1st day of November, 2017




THE   HO~
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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